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Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 1 of 39

CIVIL C`OURT OF "1`1~113 C`I'I`Y 013 NEW YORK

 

 

 

COUNTY OF BRONX
..... -X
NOR'I`H MANAGEMENT, LLC,
INDEK NO. 33691/09
FILH NO. 3196
Plaintif`f`,
Hagainst- NQTICE OF EN'I`R_'},"’
DINA GRH..LO,
Def`cndmnt(s).
--X

PLHASE TAKE`. NOTICE, that annexed hereto is the Ducision/Ord¢r C'zlllj_;,r Entcrc:d

in the affirm cf the Clerk Of the Court cm the 14"' day of May, 2015

Dated: Westchester, NY
May 14, 2015

Yc)urs, ctc.,

Kavulich & Associates, PC
131 W¢Stchczster Avenue, Ste. SOOC
Pc)rt Chcster, NY 10573

To: Dizla GIi]_lO
3609 anxwoud Avenue, 3""“ Flm)r
Bronx, NY 10469-1156

.TP Morgan Chasr:. Bank
P.O. Box 183164

Col}lmbus, Ol~l 4321 313164

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Case 1:16-cv-02134-ALC Document86-53 Fi|e`d 08/18/17 Page 2`0f 39

Civil Ceurt of the City cf New York
County cf Brunx

:NDE>: NG. 83691/'09
“““““““““““““““““““““““““““““““ -----m~~»~»~---~~»x 1=~11.=":. Nn. ama

NOICM Manaq@ment, LLCf
Fldintiff, ORDEH
" against -
Dina eriila,

Defendant(n).

___________________________________________________________ X

Upmn the foregoing cited papers, the Deei$inn/Order on the Plainhiff'a Mnhinn
for an Grder granting leave to serve an addizionai restraining n

J.P. Mergan Chaee Bank, N.A, is hereby qranhed en default /
en eeneent aa fellewe:

ntice upon
after ardumen£ /

l. Plaineiff may serve an additional restraining notice upon J.P. Merqan

Chase Bank, N.n. in aecerdanee with uhe CPLR.
2. Plaintiff ia

tn serve a copy et thin decision with Netice of Entry en

the Defendant and J.P. Merqan Chase Bank, N.A. within 45 days, and file

same with CeurL,

Thia is che Urder and Deeiaien ef the Ceurt.

gng 1§’”

 

E TEM 04
BRY\B< eeun§}'r moman GANNATN§ `.

mw 1 4 2015
Civizeom x

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C`~i‘ly of New anlg

 

P:lg: 2

 

Case 1:16-0\/- 02134- ALC Document 86- 53 Filed 08/18/17 Page 3 of 39

 

 

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wen'rn MANA¢:;EMENT, LLe,
) w »
llsmmff, A_l-.~F;mvrr OF senviei~;
ny MAU_.
»ageinst-
`DI.NA. GRILLO,
])efeudani,
' X
3 I`ATE OF NEW YORK

COUNTY OF WESTCHESTER ss:
Miehelle anirez being duly swern, deposes and says:
l am ever 18 yean ef age and net n party to this :ictinn. On May 14, 2015
l served the within Netiee of Entry upon the defendant(s) and JI* Morgnn Cimse B:mk in this nciion,
by depositing a true copy of the Netiee ei‘ Entry in a poslpnid envelope address tn:
Dinn Grilln
3609 Brenxweod Avenue, 3"‘ Fieer
Broux., NY 10469“1156
.IP Mergan C`lmse Bank

P.O. Box 183164
Celumbus, OH` 43218-3164

in an official depository under the exclusive care and custody of the United Stntes Pn$tni Serviee
within the Stete of New Yerk via regular first class muil.

¢/`i\f\mw 010 Q_Gln:eie);

Mlciielie Rnnlir'ez

   
 
 

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This 14"1¢13,, ,.;..»- . ii
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Netary` - ubiie

 
 

GAR‘¢' KAV'UL|CH

NOTARY PUBLlC-STATE OF NEW YORK
NO: UZKAEZUSGIS

QUALIFIE|) m WESTCI-IESTER COUN'\"Y
MY COMMISSION EXP[.RES 05{]1[201'7

F'aga 3

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 4 of 39

CIV!L COIiR]` ()F Ti-IE CITY OF NEW YGRK Inde:< No. tdsz O`- k l~\\\`§;b
COUNTY OI`+` BRONX: PART X

n- rl- int - s),
‘N"’MU *“XMM)VL\"\EHH ¢WLF(; `
URDI§R VACATING
-against» DE.l' AULI

b 1‘ d \u\ QVJL“ \`\FL{Q Defeltdttnt(s).
_________________________________________________________________ X

R,..¢imign` 35 required by mile 22\9{3) grth (_j'{=_]”_[?`_ nf\h¢ papers ennsidered irl the review ot`this rnotsen:

Pa[)ers Numbered
(erer to Show CausefNotiee of Motion, Afiidavit(s) & Exhihits -
At“i`irmatien/Ai.`t`idavit(s) in Opposition & I?.xhihits
Repiy Al`f”ldavit(s)

 

Upn)'z the foregoing citedpnpers. the Dec'ision/Order on this Morion/Order m S}ioi-v Can.re is ns
foliows:

1`he court is satisfied that the defendant has presented an excusable defanit and a
meritorious defense, to warrant granting the instant motion/order te show cause (nn default) (see

Fgenehy’s v United, 251 AD2d 177 [151 Dept 1993]). Aeer)rdingly, thejudgment/inquest clerk

 

marking is vacated, and any and atl income or wage gateishnients5 bank restraints or executinns,
sheriff or marshal ievies, Department ot` Motor Vehieles license suspensions and/or loss ot`
driving privileges5 are vacated

The answer annexed to the defendants motion/order to show cause_. is deemed liled and

interposed in this matter, and the defendant may amend the same within twenty (20) days ot` the
date et` this order.

T his matter is adjonmed to g ii 2-`1 1 id at 9:30 a.m. for trial
1. t ‘_ `
'I`his enlistitutes the Deeision and C)rcler of this conrt.

Dated:

  

z

l-Ien. Ruben I-`raneo, JCC`.

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C DOCUm€nt 86-53 Fl|ed 08/18/17 Page 5 Of 39

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»‘“""'"'N Advocate Program
`M' C°“"t°"h°`C`“""Ne“"'"°"*‘ ll|l|ll|||l|||illI|l|l|ll|||l|l|ll|l|||||l||l||
lnde.\F l‘-iumber: CV-UBSGSPI»(]WB}{

 

County ot`lironx

sears nanacsnsnr. LLe \r up n _ __ ORI)ER TO SH()W CAi_JSE'II.`()
'oa'MH-‘it»' ibid o . '.- i'ti li l~.' Vacate .ludgrnent, deem annexed prnposet.t

DINA wl mo answer lfiled and/or dismiss the action.

Upon the annexed affidavit of l)l`Nr-*i GR_[LLU, sworn to on June 5, 2015, and upon all papers and
proceedings herein:

l.tet the i’laintiii`(_s) or l’laintil`l`{s) attorney(s) show cause at:

Civil Court of the City of Ncw Yorlt County of Bronx

851 Grantl Concourse, Bronx, NY 10451

Pnrt 34 C` Itooni 504

on '_§WLQ_ 2 2a » )"£ (;)/_5;‘ at 9:30 AM
or as soon thereafter as counsel may be heard , why an order should not be made:
:VAC`ATING the Judgment, vacating any liens and income executions_. deeming the annexed proposed answer
l:Ied, and/or dismissing the case andr'or granting1 such other and further relief as may be just.

PENDING the l‘tearingl ot` this Order to Shew Cause and the entry of an Order thereon, let all proceedings
on the part ot the Piaintit.`i`(s)/Petitioner(s), Plaintii`t`(s)/i’etitioner(s) attorney(s) and agent(s) and any Marshai or
Sherit`t ct the City ot`New Yorlt for the enforcement of said .Tudgment be stayed.

SERVICE ot` a copy ot`this Order to Show Cause, and annexed Al`tidavit, upon ther

Plaintii"l"(s)Del"endant(s) or named attorney(s) Sherii']" or Marshal
(Judge to lnitial) (.ludge to Initial)
by i’ersenal Scrvice by " In I"land lljeli\rery" by l’ersonal Servicc by " In Hancl l)elivery"
“““““““““““ h by Cllertltied i\/Iall,_ Rcturn Receipt R.cquested by Certilied Mail, Return Receipt Requested
` _ g by iiirst~Class Mall with ofiicial Post Oiiice “_ by First Class Mail with otticial Pcst Ot`tice
Ccrtlticate ot Matling, / ) Cert.ilicate ot` Maiiing
on or before 43 ) l j £;r _. shall be deemed good and sufticient.

 

races or seen seamen italy se cna with the cert in the rim indicated above mt the tamm cna errata
Clrder to Show Cause.

AiiOl'lW)/(S)i Mail 101 SlteriiT/Mal'shal:
t‘-§avnlich dc Associates PC (C`ounsel For Plti`)

l SI Westchester Avenue

Suile .‘SUOC

Port Chester, NY 10573

June 5, 2015

 

earn l-Ien. Ruben I*`raneo, Clivil Court lodge (NYC)

li'age 6

 

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 6 of 39

CIVIL COUR'I` (_}F ' `HIL` CII'I`Y OF NEW YORK

 

 

 

 

 

COUNTY OF for-2x1
it index No.____`__§_;£;§‘i`_l _W_G j
partly 4 . t_ . .
N mm j an "' {' C" arrinavnr in surron'r or
` oanen rto snow cause
rtaimin-'_. To vacate oeFAULT
settlement ann ntsa<nss ron
- against - LAC.K {)F .PERSONAL
JUR.IsDtCT;toN
t:>{ ns er 63 »~.'t l e) y
Defendant
31
stare or uaw irons )
332
CouNTY or fing
D ~' "i C €tr' .` l I cv , being duly sworn, depose and say that:

 

1. l am an unrepresented Det`endant in the above-captioned action.

2. l am fully familiar with the facts set out in this A.t`ftdavit.

3. ll submit this Al`iidavit in support of this Ot‘der to Show Cause to vacate the default
judgment and dismiss the action for lack of personal jurisdiction and attach the following
cshibit(s`) in support: "») A" QS‘-DLF"" 'i ""'"{“ E;€'/""* ‘5“'€', ¢;~+1=-+-» plead

)‘5\“\-‘ 5a 5+ 53 2l ca c 51
33 P regard dire scenes-

4. Because this Affidavit contains a sworn denial of the affidavit cf service,

E"and facts to rebut the process server‘s al`iidavit, l request the Court hold a traverse hearing
f:] and documentary evidence to rebut the process sewer's affidavit, I request the C`.ourt grant

this application pursuant to C_P.I_..R. 321 1(1\](8) without the need for a traverse hearing and

dismiss the action tier lack ofpersonal jurisdiction

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Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 7 of 39

B,Mt,_, Plainti l`t' commenced this

 

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action by tiling the Sunintons and Coinpiaint.
6. A default judgment was entered against me in this action on
rr') asst la /, a a t s“
7. I have reviewed the affidavit ot` service filed in this action, and I dispute the
allegations of the process server ior the following reasons:
gt was never personally served with a copy of the Stnnmons and Cotnplaint
§ A copy of the Sun“nnons and Contplaint was never left with a person ot` suitable age
and discretion at my residence or place ot` employmentm
E A copy ot`the Sunirnons and Colnplaiut was never attached to the door of my
residencel
Mdid not receive a copy of the Suntrnons and Compiaint in the mail.
l:l I was home on the dates and times the process server states he / she attemptet.l setv.ice.

Specit'lcatty_. l was home on:

 

 

and no one came to my door or tang my bttazer_

m 'l" he at`i'idavit of service does not indicate that the process sewer attempted service at
my place ot` employment gee Barnes v. SCIJM§, 415 N.E. 2d 979, 979~980 (`1980)
(ait“mnirig determination that process server did not meet due diligence requirement
because he did not attempt to ascertain defendant’s “actual place of business"); M_tlms_.'g
ni§t;.;viton v. Ungcr, 863 N.Y.S.Zd 126 (Zd lDep"t 2008) (same); McSotelv vi Speat, 354

N,Y.S.Qd 759 (Zd Dep`t 2003) (Satne).

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Psgs 7

Case 1:16-cv-02134-ALC Docum_ent 86-53 Filed 08/_18/17 Page 8 of 39

ig?\dditionaliy, l dispute the following t`acts contained in the process scrver`s al`lidnvit
for the following reasons:

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jé’wl` Brlsmrvvnoef? -F’t\fe..»soe_ 3"'¢" ii""lac_,.»'F B»»u-~>a N)J
dod law wet live ‘-t-’>e.i: s.`-,
ttbf-‘li¢=>éir WA Sci;,.p;,,,_,`ta(f :?:5535.

W jj 549

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I'

u“€'¢ ;P".:\c.es.s 5‘<§,»/~41:.-' ,-;»t.¢' rc_fr-bc‘ _s' ¢HC-"GE-e“-‘*"i*-'~==E S'Efv“:"’ l
1

 

3. l discovered that Piaintiff` commenced this action when:
W 495/ali §C'C`_.ca_r»-i- L»-“‘“-si "'i:'_. S'-t¢-F¢,_‘._)M
m n/'),»; 1 2 ge t 5"".

 

 

 

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 9 of 39

9. Because l never received notice about the lawsuit, l have a reasonable excuse t`or my

det“ault.

l(}. l also have one or more meritorious det`cnses.
§’l'du not owe the tnoney.
l m I am a victim ot`identity theft or mistaken identity.
iii Payment.
`E"Incorrect Amount.
m No business relationship with the plaintift`. (Plaint'il`t` lacks standing.)
[:] The N`YC l)epartinent of Consurner At`l`airs shows no record ot`
plaintiff having a license to collect deht.
l:] There is no debt eollection license number in the complaint
i§-;Statute of limitations
l:] The debt was discharged in bankruptcy4
l:,l T!te collateral (property) was not sold at a commercially reasonable
price
§ U`njust cnrielnnent.
H_Violation of the duty of good faith and fair dealing.
l:l Unconscionability (the contract is unfair).
E:Laches.
l:l l)cfendant is in the military.

Other Dct'ense.

F,.-

W ~i-

l‘“'ic“"°’t_.,,§ 5¢`°'¢‘“"*\ 5 ‘-+"~t.lrs-.-t- c 5a

ware theresa §»(MW WH M:hw __.

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Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 10 of 39

 

 

 

 

 

 

 

 

 

 

 

ll. Notice of Entry. lnote tltat:

[§~l was not served with Written notice of entry ot` a judgment ot order.

|:l l received a copy of the judgment or order with written notice ot' its entry
on or about ___
and l am filing this motion within the year ot"seiviee.

12. Protected Incorne. in addition, i note that my sole source ot`income is

, Which is exempt front ot!)»llet';tionl

 

13. “t`he Cl..ARO Progrant helped mc prepare this At”t`idavit in support ot` my Order to

Show Cause to Vacate the l)etault .ludgment.

i eti’_.

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 11 of 39

14. Upon information and belief based on the advice l received at C,`l_,.¢\lt(.`), the law
stated below is true and aceurate:

15. C.`i’.L.R. 5015(a)(4) mandates this Court to vacate a default judgment and dismiss an
action when it finds that a defendant was not served with the Sumtnons or the Sumrnons and
Cornplaint as required by C.P..l,.R. § 308. Kicsha Ci.“S. v. Alnhonso S.. 57 A.D.3d 239, 239, 370
N.Y.S.Bd 240, 240(1stl“_`)ept. 2008) (citing, Chase Man.hattan Banlt1 l'~l.,¢\.1 v. Carlsor_t, 113 A.D.Ed
?34, 493 N.Y.S.?.d 339 (2d Dept. 1985] (“[_a`]bsent proper service ot` a sumrnons, a default
judgment is deemed a nullity and once it is shown that proper service was not effected the
judgment must be unconditionally vacated"')); Steele v. Hempstead Pub Taxi, 305 A.D.Zd 401,
402, 760 N.Y.S.ild 188, 139 (2d Dept. 2003) (same).

16. Service of process is a constitutional requirement necessary for tt court to have
jurisdiction over a person. Patrieian Plastic Corp. v. Bernadel itealtv Corp., 25 N.Y,?,d 599, 607,
307 N.Y.S.Bd SGB, 875 (1970) (“Tlre short ol.`it is that process serves to subjects person to
jurisdiction in an action pending in a particular court and to give notice ot` the proceedings.”"
(citctions omitted)),

17. Tbc requirements for service of process are strictly enforcedl Dori`rnan v. Leidrrer, 76
N.Y.Bd 956, 953, 563 N.Y.S,Qd 723, 725 (19‘§30`) (stating that "{s]erviee ot`process is carefully
prescribed by the I.,egisiature” and “requires adherence to the stanrte"`).

lti. A court determines whether I’laintil`l` effected service oI` process properly by
reviewing the facial validity ot`the affidavit ot` service and other documents lite Zego v. Brtthn,
67 NiY.Zd 875, 877, 501 N,‘i’iS.Etl 301, 801-802 (1936).

19. In its moving papers, the defendant must either submit a sworn denial of service or

swear to specific facts to rebut thc process servcr’s al"f`rdavit. Puco_v. DeE£Q, 296 A_D.Zd 571 3

_t'-'_OF£

P:rgc 11

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 12 of 39

5?1,'745 N.Y.S.Zd 719, 719-20 (2d Dept. 2002), An affidavit by defendant that raises an issue

of fact as to jurisdiction is sufficient to rebut the process servei"`s affidavit Ntrtiotrrrl Union F irc

 

lns. v. Montgornery, 245 A.D. 2d 150, 665 N.Y,S,Zd 665, 666 (lst Dept. 1997).

20.
E'fhis nffidavit raises a question offset with respect to this Court’s jur.isdiet'ion, which should
be resolved through a traverse hearingl §j'-._g ig_ijjgsland Grp. v. Pose, 296 A.D.Zd 440, 440-41,
744 N.Y.S.Rd 715, 716 (Ed Dept. 2002) (“[S]inee there vvas a sworn denial of receipt of process,
tire affidavit ot` service is rebutted and the plaintiff must establish jurisdiction by a preponderance
of the evidence at a hearing.”); In re St. t's"hristonher-'C)ttilie1 169 A..D.Zd 690, 691_, 565 N_Y.S.Ed

72, 73 (lst Dept. 1991) (“[T]he court erred in failing to hold a traverse hearing on the issue of the
propriety of personal service, since respondent has raised an issue of fact with respect to the
service of the petition.”).

I:I In cases where the documentary evidence shows that service was not proper, the Corrrt
should grant the motion to dismiss for lack of personal jurisdiction without fielding a traverse
hearing §ep;gmngram v. Hershowitz, 14 A.d.Bd 638, 789 N.Y.S.Rd 313 (Zd Dept. 2005) (“Since it
was undisputed that the defendant did not reside at the address where personal service was
attempted, and the address was not alleged to be the defendants place ofbusiness, any purported

service pursuant to C,`PlsR 303 was ineffective, and the complaint should have been disrnisscd.”

(internal citation omitted)); Communitv Statc `Bank v. Haal<onsonr 94 A.D.Zd 83 i:i, 463 N.`Y`.S.Zd
105 (3d DEPt' 1933} (aPersonal jurisdiction not having been acquired, the subsequently granted

default judgment was a nullity and Special 'l`errn’s attempt to exercise discretion pursuant to

CPLR 5015 was ineffectual, for it was without authority to take any action other than to dismiss

the complaint . . . A.nd not withstanding plaintiffs assertion to the contrary there is no re 150
v . ' a ` n

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&ase 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 13 of 39

to remand for a factual hearing on the propriety ot`the service . . . ill-ecause no disputed issue of
fact is presentetl, a further hearing would be useless."{internal citations ornit'tcd)).

il .lf this Court finds that C.l’rl..lt. § 5015{a)(4) does not apply in this aCIiOH, 1116 COL“T
may vacate the judgment based on excusable default trader C.P,L.R. § 5015(:\)( l). MM

cramer 'rewe;ggrg;.,, ss A.o.sa ssa sss, 453 N.Y.s,zrt 25. 26~2'/ (2<1 Dsrt~ 1932) treI‘-f“‘i“i“t‘»

 

the case for a hearing to determine “whether the court had jurisdiction over defendant, attd, if it
did . . . whether leave to interpose an answer containing all or only come defenses should be
granted in view of the prejudice, if any, caused by the defendant’s det`ault”).

22.Excusable default requires a finding ofa reasonable excuse for the default and tire
existence of a potentially meritorious defense to warrant vacatur of the default judgment. M
v. Canales, 74 A.D.Bd 1017, 1013, 903 N.Y.S.Ed 499, 500 (Zd Dept. 2010).

23. “Thcre is a ‘strong [public] policy favoring the determination of actions on their
merit's`.” l-leslcel’s West 38"‘ Street Coro. v. Gotharn Constr. Co., 14 A.D.lid 306, 30'?, 73'?
N.Y.S.Rd 235, 287 ('l°‘l Dept. 2005) (alteration in the original).

24. As described above, l have a reasonable excuse for nty default as l never received the

Surnmons or the Sumrnons and Conrplaint and meritorious defenses

25. I have:
;E'"not had a previous Order to Show Cause regarding this index nunr|:)cr.

I:] had a previous Order to Show Cause regarding this index number but l

am making this further application because:

 

 

 

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Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 14 of 39

 

 

 

 

 

 

 

 

 

 

     

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 15 of 39

26. l respectfully request that the Court grant my motion to vacate the delimit jtll`llrilll‘l'll
or in the alternative, schedule a traverse treating and, pursuant to C.l’.t,.lt. 5()15(3)(4)\1 l`ll-“illll$"r"
this case for laelt of personal jnrisdiction, lift all stays, order the return cfa-ny funds that have
been garnished, and permit inc to serve papers by mail

27. It`the Court denies my request pursuant to C.P.L.R. 5015(a){4), l respectfullyr request
that the rtjourt grant my motion to vacate the default judgment pursuant to C.P.L.R. 5015(a)(l),
restore the case to the calendar, lift all staysJ order the retum of atty funds that bavc been

garnished, permit me to tile the proposed Answer, and permit me to serve papers by mail.

WI~IEREFORE, l respectfully request that the Court grant my motion in all respects

Zdt‘§" .\ v
v o@,t/t<or@tafl@m

Pro Se Dcfendant Signatnrc

Date

 

 

 

 

 

 

 

 

Pro .S'e Detendant Narnej`
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ROBERT S, GHUENWALD
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_ -egat`rrsr-
Q"n 5 élf ll‘:'°' Ueli'rrdam(s},
f)cfendant i.;h`m.; éj»». tl___r`_jsm¢ answers the Cr.nnplaint as follows:
rtt~tswttn-, (Chet-r art mar spain ___H g _r;`j_"y
l{`:§"£\ Cicncral Dcnial: Ideny the allegations in the ('.`omplaintt ‘&.M§'" §§L"':» \j"f"i
rt ‘ .r. ‘i`!`
.. _i U'TUN ` r'~ '\'.'"
filll_t\t'l[?l`c _ ` l l “B`t'»l~ n rs th-¢j_\,
2.{;‘_§;_"] l did not rccctvc a copy of tltc hammons and t_Tontpl:trnt. 1 \Mt`:` t n "T_t
3.|:] l received the Surrunons and Cornplaint, but service was not correct as required by lttW- ` 'cti‘§s€t»‘"
gill of "':~‘l"f' ,“’~f\"*`l
MM … of `t-tt<.‘~" "
4.|£] l do not owe this debts Cl‘l“»"'

5.1::””:] t did not incur this dcbt. l am a victim of identity theft or mistaken identity

G.E] l have paid all or part of the alleged dcbt.

'l,tH| l dispute the amount ofthe debt.

tl.[_';:] l do not have a business relationship with Plaintiff(Plaintiff lacks standing),

9.[;;] The NYC Dcpartment ofConsurner Aft`aits shows no record of plaintiff having a license to collect dcbt.
10[::] `l*laintiff does not allege a debt collector’s license number in the Contplaint.

tl.® Statute of limitations {the time has passed to sue on this debt).

124"_:] Tltis debt has been discharged in bankruptcy

l3.\;;l Thc collateral (property) was not sold at a commercially reasonable pricc.

14.|}}:] l_lrrjnst enrichment (tlte amount demanded is excessive compared with the original debt).
t$l__:] Violation ol`t.he duty of good faith and fair dealing

16.[::] t.lnconscionability {tltc contract is utrt`air).

17E] Laches (plaintit`t` has excessively delayed in bringing this lawsuit to my disadvantagc).
lBl:J Defendant is in the militaty.

19.{;§»3 Ot|ter Sr_v".-l"`~€-slr»ll»¢/ -" cewr`e~t.e*r--.tcc,(: ~;~"sc: c-=»*“\o~. ‘r":`f)

()`l'l*l l'il§_

20.['_';"_] l’lcasc take notice that my only source of income is _” """""""""" , which is exempt from collection.

CC)UNTERCI:A fM{ S[

 

 

'.`l.l |::j Cottttlerclaim{a)i $ Reason:
l VERIFICATION
State ol'l'~lcw Yorl»;. (.`ounty of__`_M_"_WWMMMSS;
Q~io tr -Ei~’t` ll to

 

. being duly s\vor'n, deposes and says: l have read the Aas\vcr in Writing and know the contents to

be true front my own knowledge except de to those matters Staled on information nan beli,_;f" and 33 m those mmch 1 bum-Wc them m
bc truev t

'*-i
,-

Sworn to bcf't/t;c?me this _‘<lJ_/‘ day of TM'HEM_BS;SRUENWN_D ><'
l :L : : l

Notary Publlc. State ot Naw York -' . . ~ -
flot:|')'?fi.`our'l Etll`f`n`r‘iyto--....__ N°‘ 31'5004537 E'lgn`“mc m Dclcndam
' Ctuatttted tnl New Yortt chnty l 3 32 . |' Ej IF-l ‘l‘"l 5>+. ~s¢‘:l' 3
Cormn|sslon Enptre§ Novembor 23, 20 . l .»s-¢--. v r.\l‘-,l t C.>~'d'i 5"@»
This case is scheduled to appear on the calendar as follows: DMEMM{ s address

I}atc: l-*.'rrt:

Roorrr'. ‘ t -- - .
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l’r*-‘Pttl't!d th|t thc assistance of tlte l`.irunx (_Tl_.AltO l"rottrrtn't by l l `l' n}§~»" “W“"nycm’m`l““""‘°l"'“""‘tl\"lt“\lllL‘latrrnr’ttir.m¢“nnmj_

.._ ..`._._-~-t`-m\ -- *

rises 16

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 `Page 17 of 39

AFFtoAvrr or seamen
g ervin constr or run crrv or new voter d iia » rossi i/tit>
coot~t'rv or naonx ` ;I:,;§: 'N”` `

Attorueys: Kavulich dc Asseciates, P.C.

Addrcss: 30 Church Street, Suite 26, Ncw Rochelle, NY 1080 l idle No. 8196

 

NOR'I`['I MANAGEMENT L.I..C,

vs.

Dl'NA GRll,LO,
State ofNew ‘ii'orlr County of Nassau SS:
Astori Q. Evans ll

 

, being duly sworn deposes and says:
l.“Jeponcnt is not a party herein, is over 13 years of
At: 3 09 Et*onxwood divert e. 3m Floor. Br'onx.

trgc. On Atrgust gl, 2009 at 9:45a.m.
Complaint on: DI_NA GRILLO,

NY 1.0469~1156 served the within Sunrmons and

 

 

Det`endant therin named
Individual By delivering a true copy of each to said recipient: deponent knew the person
[] served to bettie person described as said person there`nr.

 

Corporntion By delivering to and leaving with w

and that deponent knew the ‘_
l ]

person so served and authorized to accept service on behalf ot`tlre Corporation
Suitnble Age By delivering n true copy of c

acli to n person ol` suitable age and discretion `§'_'
Pcrson Sald premises is recipients [ ] actual place of business [X] dwelling house within tire _.-.
[X] state. \'~"`"
Afi`uting By altering a true copy of each to die door of said premises which is recipients
to Door l ] actual place ot` business n dwelling house (piace ofnbode) within the state
ll
Mnil Copy Ctn @gi_rst 5, 2002 deponent completed service under the last two sections by
[X] depositing tr copy of the Strninions and Complaint to the above address in a 1‘t
Class properly addressed envelope marked “Fersonnl and Conddential" in an official
depository under the exclusive care and custody of the U.iii'ted States Post tnt-ties in ina giant
of`New Yorl<.

Deponent was unable, with due
and discretion having called tlrcrent:

diligence to lind the recipient or a person of suitable age
Drt the day of at

Gn the day of at

Cln the day of at

Descriptiou A description of the Det`endarit, or oth

cr person served on behalf i` t D
{_1 ScriM_Color of skin: !§LK Color ofl-lair;,_i§Ll§*_Ager_$§ig He 0 he efendant

ight: §’§" Weiglit: _l__llOLi§S
[ X] poken to whether the repr

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service of the Unlted States Governrnent or of the State of N];w Yor§ an:;l1 i:'lat:]y
rni'”onned that the recipient is Li_t. Rceipient wore c

iviliari clothes and no military uniform

Military Svce Dcponent asked person s

Clthet‘

[X]’*.lohn Doe” stated that the Det“endant is not in the military

erred ///e%@

 

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"Case 1:16-cv-02134-ALC 'Document 86-53 Filed 08/18/17 Page 18 of 39

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Page 19 Of 39

”»Mwwm
givil Court of the City of New York
Csunty of Bronx
INDEX NQ. 33691!09

------------------------------------------------------- x sits Nr_). swain
Nonth Management, LLC,

Piaintiff, ORDER

- against -

Dina Grillo,

Defendnmt($)-
------------------------------------------------------- >c

Upon the foregoing cited pspers, the neuisien/Order en the Piaintiff's Metien
for an Order granting leave to serve en sdditionsl restraining notice upon
J.P. Merqnn Chase Bank. N.A` is hereby granted on default / after argument /
en consent ss follows:

1. Plainmiff may serve an additional restraining notice npmn J.P. Mquan

Chase Bank, N.A. in accordan¢e with the CPLR.

2. Plaintiff i$ to serve a ¢¢py Of this decision with Notice OE Hntry en
the Defendant and J.P. Morgan Chase Bank, N.A. within 45 days, and file

same with C¢urt.

3. This is the Order and Decision OE the Couvh.

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Case 1:16-cv-02134-ALC Document 86-53 Filed 08%18/17 Page 20 of 39

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Civil Court of tm any of New York No CAI,ENDAR NoMBsn n:‘-;s:m:n\n‘-;o
nt of Bronx
Cau y INDEX No. 83691/09
---------------- X FILE ND. 8196

North Managem@nt. LLC: NOTICE OF MOTION

Plaintiffr
him

    
 

w against -

D` Crillo,
lna 1 Defendant($}-

________________________________ x
MOTIGN BY: Kevulien & Aesooietes, P.C.
Attorneys for Plsintiff

DATE, TIME ANU PLACE
OF HEARING: 05/14/2015
9:30 AM
Pert 34, Room 503
Civil Coort of the City of New York
Coonty of Bronx
351 Grand Conoouree
Bronx, NY 10451

EUPPDRTING PAPERS:

nffirmation of Gary Kavulioh, Eeq. dated
Mey 01, 2015,end upon all the papers and
proceeding heretofore and herein.

RELIEF REQUESTED:

Qrder: pursuant to CPLR Seotion 5222(¢),
granting leave to serve an additional
restraining notice upon J.F. Morqan Chase

,Eank, N.A., end for such other end
further relief as the court deems joet
and proper.

beted: Port Chester, New York
Mey 01, 2015
Youre Eto,,

rr
Kevolf€h & Assooiete$, P.C.
By: Gery Kavulieh, Eeq.
Attorneys for Pleintiff
181 Westohester Ave., Suite BOOC
Port Chester, 105?3
914~355-2074
To: nine Grillo
3509 Bronxwood Avenue. Brd Flr
Eronx, NY 10469~1155 ~».,
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Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 21 of 39

l

Civii Court of the City of New York
County of Bronx

Innrx No. 83691/09
__________________________________________________ x rita No. 8196

North Management, LLC,
Plaintiff, AFFIRMATION

» against w

Dina Grillo,
Defendant(s).

__________________________________________________ x

Gary Kavulioh, Esg. an attorney duly admitted to practice law before the
Courts of the State of New York hereby affirms the following under the penalty
of perjury.

l. I am an member of the law_firm of Kavulioh & Associates, P.C., attorneys
for the Plainti£t, herein. As suoh, I am fully familiar with the facts
and circumstances of the within prooeeding, except as to those matters
stated to he based upon information and belief, and as to those matters
I believe them to be true. The basis of my belief is information
furnished to me by my client, information contained within the Court‘s

file, and information contained within the file as maintained by your

affirmant's office.

2. on 09/15/2010, s judgment was duly entered in this action in the Civii
Court of the City of New York, County of Bronx in favor of the Plaintif£
and against the Defendant for the sum of $3,252.08. Annexed hereto as

Exhibit "l“ is a copy of said judgment.

3. A restraining notice based upon the above judmgnet and pursuant to CPLR
Beotion 5222 was previously served on J.P. Morqan ChaSE gank' N_A_

("Chase").

4. Plainti£f served the restraining notice based upon knowledge-and belief
that the Judgment~Deotor has an account with Chase and while the
Defendant, in faot, had an account with Chase, ne monies ware realized

from that restraint.

5. As a restraining notice had previously been served, Plaintirf seek$

leave of this Court to serve an additional notice pursuant to CPLR

. Pagez1\ '

 

   

oated: Port thester, New York

EECELOH 5222€¢) as it is the only possible asset of the Uefendant of

which Elaintiff is aware that may assist it in collecting the judgment,

Plaintiff seeks leave to serve an additional restrainig notice because,

despite diligent efforts to collect the judgment herein. that judgm€nt
plus interest from the date of entry is still due and owing. Annexed

hereto as Exhibit “2" is said Proposed Drder.

Plaintiff's diligent efforts to collect the judgment herein include, but
are not limited to, the sending of 20 [twenty) information subpoenas
and/or restraint notices to entities andfor persons whom Plaintiff
believes may have information which would assist Plaintiff in collecting
the judgment but none of these efforts have been successful in

collecting the judgment.

No previous application has been made for the relief prayed for herein.

wHEREFoRE, your deponent respectuflly prays for an order, pursuant to
CPLR $ection 5222(¢), granting leave to serve an additional restraining
notice upon J.P. Morgan Chase Bank in connection with the aforesaid

judgment, and for such other and furhter relief as the court deem just
and proper.

 

Nay Dl, 2015

 

Gary Hgvuliohglpdh.

sage:i

 

 
  
 

F'agm 23

Case 1:1€'5-cv-02134j_€\LC Document 86-53 Filed 08/18/17 Page 24 of 39

 

 

 

Bronx County Civi| Coud
Civil Judgmenz
- X

Ftaintff(s]: mde Number. CV-GEE$S|‘I-OS!B

NQRTH MGEMENT- U"c Judgmen: lesuod: en Deiaurl
vs On Motion of:

KAVLHJCH 81 F-.SSOC|ATES, F-“’.C.

WW'MW so onuch ernest some 2a Nrw

mm GR”-LC‘ arena NY mann
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nom Fm man nom as nw m mm one com SD.OD
coe er sum 520.00 low comm ear $0.00

Total Dsmeges 53.112.06 T'om| Cosls & Disburwmonls $130.0‘0 .h.:dgmont Tote| $3.242.08
Thu following named parties udcmsaed and identified as creditors below:

feelan dediw(a) and address

[1) NORTH MANAGEMENT. LLC
5 NOHTH S'TREET. E»mnx. N‘\’ 10468-

Shell recover of the following parlias. addresses and idanli|iod as debtors below:

 

Defendam deb€m'(B} and address

(1} DtMA annie
BBDB BRONKWODD AVENUE. BRD FLR. Bronx, N`f 10469-

 

Jodgmem entered at mo leran County Civil Gourt. 351 Grand Coneourse. Bromc. NY 10451, in the STATE OF NEW YDRK
fn mo total anwuni of $3,242.03 on 09¢15!2010 al 11:05 AH.

'~ <',?
Judgmanl sequence 1 wm ,/€

Jack Eaer, Chief Clerk Civil Col.rd

 

 

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Psge 1 oH

Page 24

 

 

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 25 of 39

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Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 26 of 39

civil Court of the Eity of Neu York
Eounty of Bronx

INDEX NG. 83691/99
---------- ~»»~--»e~-»»-ee»--#»---»“~--~»-»»»»-»»~-»x rita No. 8196
worth nanagement, LLC.

Flaintiff, onosn

- against c

Dina Grillo,

nefendant(s}.

,,,,..,_ “““““““ ,¢,,.\,...___.__..»¢~¢-M-

u---_sui-__iiul-_”ul-_i _____ ic_x

Uoon the foregoing cited paporn, the uacieionfordor on the Plaintiff's Motion
for an order granting leave to nerve on additional restraining notice upon l
J.P. norgan Choee eahk, H.A. in hereby granted on default / after argument f
on consent no follows;

l ?laintiff may serve an additional restraining notice upon J.P. Morgan

Chooo eank, W.A‘ in accordance with the CPLR¢

2. Plointiff in to serve a copy of this decision with Notice of Ent:y on

the Defendant and J.P~ Morgan Chase Bank, N+A. within 45 days, and file
sane with Court.
3. This is the erder and Decision of the Court.

 

Date

 

J.S.C.

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 27 of 39

Civil Court of the City of New York
County of Bronx

roots No. 83691/09
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ x sits No. else

North Manaqement, LLC,

Plaintiff, AFFIRMATION OF

SERVICE
~ against -

Dina Grillo,

Defenoant (s) .

___________________________________________________ x

Gary Kavulion, Esq., an attorney duly admitted to practice law before the
Courts of the State of New fork hereby affirms the following under the penalty

of perju
OH J!§E&Lb¢f/;Agz§}/ , I served the within Notice of Motion and Motion

upon $ina Gr`llo, the Defendant(s) in this aotion, by depositing a true copy
in a post paid envelope addressed to:

Dina Grillo

3509 Bronxwood Avenue, 3rd Flr
Bronx, NY 10459-1156

  
   
  
  
 

in an official depository under the e
United States

Postel Servioe within the State of

s v dominion and control of the

ia regular first class mail.

 

Gary Kavd§ioh, Es

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 28 of 39

INDEX NO: 33691{09

Civil Court of the City of New York

Coonty of Bronx
__________________________________________________ x

North Management, LLC,
Plaintiff,

~ against ~
Dina Grillo,
Defendant(s}.
__________________________________________________ X

NOTICE OF MOTION

___________________ a_,m-m_____~_“~H“~_______*__"_~X

  

Signeture Rule lBU-l.l~a

 

Print Name Beneath Gar§fKavulioh{K§o/.

Kavulion s nasooiates, P.C.
Attorney for Plaintiff

161 Westohester Ave., Suite SOOC
Port Chesterr Port Chester NY
914-355"20?4

 

 

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Dina Grillo
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w 1`31‘on.\;` N‘r’ 105163
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BY: GARY KAVU |CH1 IZSQ.
30 C}-fU[iCl-'l 3'1`111:?.1:`,'1`. 5:`»1_11'1'15 26

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AND MORE ‘I`HAN 311 L`JAYS IPMVING 131-!\1-‘313[3 SINCE THE DAY OI-' COMP[..E'|`ION OF Sl?,R\/ICE AND 'l`|-!E. 'r`!ML§ OF SAID
[)1:.-:1:11-`,1‘~1 DAN'|`[S) 1`1'_`1 APFEAR AND ANSWER 1'1A\."1NG 11`,>11"‘1|`1131), AND

NOW ON MO'[`!ON 017 KAVU!\.|CI--f & ASSOC.`IA']"IES, P.(_"_ 2\"1'|`01{1~11£`1"(3) 1-`(`)1`1'1`1-113 Pl..AfN‘l'lFF($) 1'1` lS. ADJUD(`_]ED "1"|-1A'l"
Norlh Mnnz\gcmom, LLC
1 ln=_s¢olno AT; 15 Nm-m men swint Nv 10408
l RECGVER 01-` l`Jina Grillo
. Rl:`.SlD|NG A'I`t 36119 Bronxwood Avc‘:rme 31'd l"`!r. Bronx, N‘r' 111=169-1 156
1 'l 1115 SUM oF $2,425'10\\/11"11lNTERtsTor` 5540 40 MAKlNo A locAl, or- 52,000 25 _Toot"-mnn will-1 5130 00 c 05 r 5 AND
j DlSBURSE Ml: 1\11`5, AMOUN'IING IN AL.| '11§)”1`"£1{1 SUM OF 33 1199 25 AND "111/\"“1 l’LAIN"~`HIF IIAVE EXE CU'I!UN 11|1`1?.1"1011|"
‘31§:. C OND AND 1111|113 C`AUSES 1`_11' AC`| |()N ARL: IIEIZ.EBY WA!VED

 

 

C 1.1`.*1 1111

Pags 29

 

 

 

 

Case 1:1b-cv-02T3"4-KEC “U`é§ument 86-53 Filed 08/18/17 Page 30 of 39

CiVlL CO\_.‘R"I` 1`.)1`-` "1`1"[15§ C.`H`Y ()F `NEW YORK
C.`(`.)UNTY OF HRONX

N`urlh Mi:.rmgcmcm. 1..[.\{§,

1*1,A1N`1`11`*`1"1i'3,1 ,~\1‘"`1-`113.15.\11'1` OF F`A(_`.`I`S
CC)N$'“»T[TU`I"[NG "1`1‘1£". Cl.r'“\H\-‘]
AC.`w‘\lNE-S'I` ']'1'11§". 1,`)E.FAU L.`1` AND THE
2*\.’\¢'11`)1.11~1'1'1`)111_7.
Dinn (`jrillu
Df?fl`"`l'i`NDAN`I`(S)

.‘3'1`:‘\'1'[€ 1le NEW YC)RK COUNTY O[-` WE.‘§'I`C!-{[-§!".S`F`ER

S'J`ES: Gr\l"‘\‘r' HA\¢'LJ'E.\C.`.H. ESQ. 1-1EREBY [)1€1"{:)551€55 r-‘\le) SAYS UNDIIR `1"111.:'; 1’1§1'\‘€‘\1."111£.‘5 01“` 1’1`,11{,11.11{¥, `1`1-1¢\"1` 131:`.|"131`~`:1551`\"1` 15 '1`1'1[1

JX'FE"ORNEY FOR `1`1-1E I‘L.MNTIFI"(S] IN '1`1\11?.` Wi'l`l‘|iN ACTI(.)N; "1`1'11‘5 AC`T`K)N WAS {_`1_`)1\-/1»’\-1|§£1\1(_"1§1.`) EBY 5§1\.1153"1`1`1`11131_`} SER\-FICF_".

Ol"' '1`1"11'§. SLJMMONS A`ND CUMPLAIN`I' 1_1|’11`)1\1 1_31€1:|§"€1'\11`.11\1‘1`1'(5} AND 15 AN .-*\£.`.'1‘|€.')1“1 1:{1)11. RI§`.NT 1)£_11_`"`, »\1\‘1) 111WING 11`(_`)11 [»\1'“'1`1£11

.A|’i"l,lCr\'T[ON Oi-` PAYME£N']` J"~ND $|`j-ZCUIU`I'\’ l')l;§|"(."}$l"["_)

Au&;\l$(\ 30071');11.'1!1€€'1)1'$?.7‘?,93

55001¢1:11»0)‘.21}07 51.0‘?5.3¢)

Oclober.BOO'I 5|,075.31)

AT THE AGREE[) 11111§`)1'~1‘1`1"|1..`¢' 111`;`1\1`1'»"\.1.., (`_11"` 31.(175‘31)

Al.L OTHER C.`MJSES 01" AC`|`]ON ARE 1"11§11.1`§13¥' W.»'\|VE[`) r\ND l`.)lSPOSED. AFTER A C`C)MPI..I`£`T'E ANI) '1`1'1'1`)1`~‘.1_`)1.2’(11-1

1NVES'1`1GA'1"IDN "l"1'lE5 13111`"1:51\'1).1\;`\11` 15 |"OUN[`.J NOT `]'O 1313 11\1 ‘1"1‘11§ ’\."111,1'1`!\11\’ AND RESI[`JES W[`I`1-1.1:"~‘ `1`111`3`, (.`-1'1":" CJF` NEW

YORK` RENT WAS NO"{` PAID BY ANY CJTI~IER SC¥URC`E. `1`1-11"€ S‘T`A'l`UTlZ OF LlMlTAT|UNS 1~1A§`:} N('_J`l` EIXE‘IRED. 1 MAKE TI-Ili"$

AFFlRMATION UPON INI:ORMATION AND BELIE.F. A 131§1,11?.1"` I’REDlCA'T`[iD LJPON C{JNVERSAT{DNS W[T§-i MY CLH'EN'I`, 1‘\)1"¢’

11"~1\/01_'\/1';51\’11§1~1`1`11\1 `F1'11£PROCEIED|NC} AND READ[NG Tl-{E 1"“|1.,17.11`1`1`|11$ C.TASE. \.

SECOND AND "F}-11RD CAU$IIS OF ACT|ON ARE 1“'117.1{1§13\" W/-\i\"f'ii). .\
Wl"lEREFCJRE U[EPONENT DEMANDS JUDGM[E,NT AGAINST I`)ISFHN

1111\’201]7 1‘1)(}1'3`1`1‘-1131{ WITH C`OS'{`S AND DISBURSEMENTS OF `1"1-113 AC'[`[ " . .

 
  
 
 
  

-1'1`1"1 INTERI`T`.ST 1:1`\’.()1‘¢1

  

...........................
KAvul.l.H 02 ASSC)CIATES, P.C.

BY: GARY KAvl)Llcl-{, 155Q_

30 CH mci-1 5'1':<0.1.'-;“¢‘, 51.11‘1'1‘»; 20

NF,W 001:1101,1,0,:~1? 10001

`1"() '1`1'113 1351`~`1£`1~11_`)!\1`~1'1`(5): FLE!-\.SE 'I`AKE NO"I`|CE d1`1"1.¢\'1` '1'1‘-113 \’\11`1'1'{1`1\1 155 A TRUE CCJ!"Y OF A JUDGMEN'I` 1\'1A1",113 ./-\ND
1`.":1\1‘1‘1§`.1{1£1`) lN '1`1'11;` Wl'l`HlN 131‘~1'1`1'1`1,1'€|3 AC'I`[ON ANID .DULY FILED IN THE OFFECE C)F THE CL.ERK. O1" '1`1-11". COUN`I` ON

D.v\T`ED: WESTCI\|ESTER, NY YOUR$, E'l`C`-..
3!4.'2010 ATI`ORNEVS FOR PL.»\fN"l`lFF
STATE OF NEW YORK. COLIN`!"Y 011 SS:

131311\11'.`1 DULY SWORN. DEPOSES AND SAYS; '1`[-1AT DEPONEN'|` 13 NOT A P.‘\R‘I`Y TO '1`1'113 1111£"`1`1(`_)1‘~111 153 OVER 13 `1’1.`€.~‘~.1`<5 (_`)1" AGE
AND RE.‘S[IDES IN

THA'!` ON DEFDNENT SERVED A 'I`RIJE CC)P"¢' Ol:' `1`1-1|3 Wl'l`l-{lN .llJ 1313 MENT AND NU`I`lCE Oi"` ENTR\’ 'l`l"fEREOiT
(F.AC}-l 01") ‘1`1'113 |’()I.LOW]NG NAMED DEFEN DAN'!`(S) A'l` "1`1-1E AD[)RESS{ES) I`NDICATED (FC)R EACH);

BY D[EF’OS['I`ING SAME ENC!_,O$ED IN POES'[`FMD PI{OPEI`{LY ADDRESSED WRAPPER(`S}, IN ~A POST OFFICE~ OFFlC`-IAL
IJIEPOSITORY UNDER `1`1-IE EXCLUSIVE C`.ARE AND C`USTCJDY CJF ”1`}11“'.` UNITED STA'I`I'_".S POSTAL SERVICE W1'1`1-11N N'EW
Y()RK S'I*A'I"E.

SWORN TU BEF()RE ME ON

Fager 30

 

 

 

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 31 of 39

C.TI\"[L C`UURT (f`)F "[`}~|E C`\TV Of“ `Nfr`.W YU'RK
CT(.\[.IN`I`Y 011 BRON}C

lNI:)E`T'.]\' NC`). 3`3"!‘2 '?:'(]()

Nurlh Mm'lau_:\:mcnr. l_l`.(l`,

PLr\lN"l`l FF[;S) A!"'I"`H'J.f\\fli[' (.)1"
M.‘\ll.,lNG Ol"“ A[`JI:JI"|']C)NM_.
-r\GAIN-ST- NC)"[`!CE O\"' $Ul"l"
Din'.-l (]:'Hk:»
DEFENDAN`I`(S)

STATE OF l\-'EW YORK}
COUN`!`Y UF WI",`S"[`C|\!ES"I`ER') SS:

GARY KAVUL|CH. ESQ., BE|NG [`,\ULY SW(`_JRN l“|F{REBY D[."§P(')SES AN[) SAYS:
L l AM THli A'["`I`ORNEY l"`OR `|"HE$ l’l_¢A|N'I`IFI;`[$) |'IEREIN‘

2. `I'HF. ABOVE'.". EN`|`I`!`LED Al'.`.`I`\ON IS AUA|NST A NA`|"UR\AL I’ERSC)N AND i'."ri HJ\S[';I.`J
Ul`-‘DN NON PAYMENT OF A C`.ON`!'RAC"!`UAL Of.¥l_.lGATlON.

`3. ON 8!17¢'2009,] MAH,ED A COF'Y OF THE Sl_lMMUNS AN [) CDMPLAIN`T' lN `i"l-|E AfBCj)VE E`,NT|'[`!..E`¢`.D !-\(_".`I`EON l_W ll)EPC)E-H`l`lNG
THE ENVELOPE(S) lN ¢“\N OFFICIAL L)EPOS}'I"ORY L]NDI:ZR 'l`l'll€ EXCE\.US[VE CARE AND CUS'I`¢.')DY ()F 'THE U.S. i"(_`)S‘l`/\E`.
SERVlC`.E Wl'l`|-llN NEW YC)R~K` STATE. SAID MAHJ|NG WAS B"l' I"IRST C`.L.AS‘S MAlL IN A PUST`PA}D IE;NVEI..OPE(S), li’ROl’lF.R[_,\"
ADDRESSED TC¢ THE DEFENDANT(S). THE ENVELC)P£':`(S) BOR.E THE LEGEND

"PERSONAL & CO`NFIDENTIAL“ AND 'I`HERE WAS NCJ l'NDICA'l`lC)N ON THE GU'[`S!DE OF THE ENVELOI’!'I(S} 'I`HA'I` 'l`l‘llr`.
C("JMMUN[CAT!ON WAS FROM AN ATTO|`{NEY C}R CONCTI."}!{NIID AN Al.l¢,l`:“GHD DEIB'!". AT [)EFENDANT(S):

->-<-LAST KNOWN ,‘\DDRESS A'I`: l.`)inz\ Gl'i|ln: 3609 fironchmd Avcnuc 31'd F|c', EJron.‘<.. NY 10469-1!56

~~~~~~~ PLACE OF EMPLOVMEN'I" r‘\"l`:

THE ENVELOPE BORE '[`HE LEGEN[J “Pl`iRSONAL. &, CONF|DENT[AL“ AND 'l`l'lER'fF.

WAS NO INDFCJ\TION ON 'l`l"{E OUTSlDl`§ CJF THE ENVELOPE Tl'i)-\'|` 'I'HE `
C`OMMUN[CAT!UN WAS FROM M'\F ATTORNEY OR C(JNCERNED A'N A[,L,EGED DEB'[`.

------- A KNOWN AD[.)I'{ES$ Ol" '|"l“[E DEI"`IE.NIJANT )\T:

TH|S ADDRES‘S 13 NOT'I`I'!E R[ESI[DENCE CJR PLACE Ol"` liMPl.OV|\JEN'l` Ol"` "l"|'{lf", DE!"`ENDANT.

THE FOREMEN'I`[ON E.I`) MAII,INGS

   

  
 

»-1-\11\3 NC)T BE.F.N Iz.££‘rURNr-;D uNDEL\\/ERMSLE BY POSTAL, Sr=.Rv\CE,

------- WAS RETURNED UNDEI,|VERABL.U BY PO'S'I`AL SERVICE AN[`J WA':, "

  

 

Q\mlit'¢ in Westch¢:ster C.`ounly
M_\' Cur lrnis:iiun Expiru* -- Aprll l.'}. 2013

Page 31

 

 

 

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 32 of 39

C`lVll. CTC)UR`i` CJF THE Cl'l`Y UF NEW ‘i'ORi~‘{
COLJN`i"t' Oi*` l.’)l{Oi‘-l}{

............................................................. ).~;
'tl Mana rement, l..LC,
Nm l lp index NO. 3372?/09
l"`iic No. 8196.0
P|aintii`i`,
»against» Ali`FlDAVl'l` OF
INVES“F!GATOR

Dina Griiio

Detcnda'inl(s)‘
.............................................................. }{
S'|"A'l`E OF NEW YORK )

)S$.'_

county orr wast~cni-;s'rsa y

l am ever ill years ot` age, am not a party to this action and reside in Westchestcr Cfounty,
State oi"New Yerkt

i have been requested by Kavalich die Associates, i’.C. attorney i"nt~ the Piaintii`l`, to make
an investigation to ascertain ii`tlie ljei`endant(s) Dina Gl'iilo is at the present
time in military service for the purpose ot`entry oi"jnclgmenl.

On March 4, 2010, 1 Dcnise Mii‘anda, contacted the Dci`ensc manpower Datc C.enter
concerning the Dei`endant Dina Grillo military siatus.

l inputtcd the social security nnmber, as provided by the ]l)ei`endant1 into the !Def`en.sc
tvianpower l.')ata Centet'.

Llnder the Dei`endant`s social security number 1 received an affidavit l’rom the Dei`ense
Manpr)wcr Data Center stating that the said Dei`endant is not ca ' n in thc military
service of“the Unitecl States and the Statc oi`New York (N¢ ' n‘tl Gtra ‘i).

   
  

  

 

lljdemtnda“

Sworn to before me this

7 Dayot`,/'-/ ¢/

  

Mattllew N.

Notary Pnb » ~» Statc of Ncw Yoi'lt
No: 9 A6204092
Quaiilied in Westchestcr Connty
My Com mission Expires - April 13, 2013

 

Page 32

  

 

t".`iVlL. (_`C)l...iR'F t)i"` "i`i-IE C'l'l`Y DF NEW YORK
(Tti)l.il\l'l`Y t`_il'“ BRONX

"""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""" X tNot'-_‘)< Nt_');
Fit.r-. No; s leaa
worth Marmgement. t,t,C, PLr-tm't'lt-'r.
~aoan\isrn art=ntma'rtow or t-‘Ac't's
CoNs'rlTu't‘iNo ruth
one ornla. bet>‘Et~tDaN't"ts} amount ours
x

 

hereby deposes and says under the penalties ot`perjury, ss:
That deponent is the managing agent ot" North l\tlanat;,enu=;nt1 IJLC, PlaintitT in the within action; this action was
commenced by substituted service of the summons and complaint upon defendant(s) and is an action t`or breach oi` a
lease agreement in the amount of $2.423.76 t`or the months r-\ugl.tst1 2007 balance oi` $277.93;Septe1nber, 2007 through
and including Oetober, 2007 at the agreed monthly rental amount ot` 31,075.39 per month (aiier application oi` security

 

and after application ol` payments) no part having been paid, although duly demanded and Damages in the amount oi`

$0.00. rail other causes ot" action are hereby waived and disposed ot`. Ai"ter a complete and thorough investig_i,ation1 as l
have been informed by l’laintit"t` ‘ s eounsei, the defendant(s) is!are found not to be in the military and residc(s) in thc
City of New York. litem Was not paid by any other source. l make this affirmation upon personal K.nowledg,e.

WHER.EFORE, I’laintit`t`demandsjudgment against defendant i"or $2,423.?6 with interest 't`rom August i, 2007 together
with costs and disbursements of the action.

Dated: 3/4/2010

      
 

Swornt before me
onthis d '

 

 

salary linen j

Mattltew N. Kattfmal
Notary Pub!ie ~ State‘of New Yerk
No: UZKAEZMMZ
Qaalified in Westehestter County
My Gnnmisaiou Expim - Aprll 13, 2013

   

Page 33 y

assist

 

 

 

raises res

Requesi for i*vlilitary Status ` ' ' ilagc l ol".] '

Ij.)epartrncni ot` Dct`ense iviaiipc.)wer [)ata Cenicr Mar-ti#t~§(il 0 l l;l l :t`iti

 

Sei'viee
Agciicy
. t . fa:"' i - ` ` ' r-iiioii ou h'i.ve furiiished, the DivtDC does not iossess
GRILLG D[NA isetlttitlic_iiiloiin_< `_ y _r w f q v ]

any inlorination indicating tiie individual status

First/Middle Begin I)ate Activc Duty Stattis Active l)iit'y `[i`,rid iiate

 

 

 

 

 

 

 

 

 

 

ijpon searching the information data banks ol`tlic Departriieiit of [)ct`cnse Maiipower Data t"jcntcr, based
on the information that you providcd, the above is the current status of tiic individual as to all branches
of the Uiiit`ormed Services (Ai‘niyr l”\lavy:l i\/larine CToi'ps, A.ii‘ i""`orcc_. N()AA. l’ublic i`rlealth_. and t_.`.oast
Guard_`).

aaa saw

ivlary ivi. Siiavely~l`)ixon, Dircctor

Department of Det'ense ~ lvtanpowei' l)ata Center
l600 Wiison Bivd., Suite 400

Arlington. VA 22'2.09-2593

 

The Dei`ense lvlanpo\vcr Data Centei' (DMDC) is an organization ot`the Dcpartmerit ot`Del`ense that
.inaintains the Det`erise llorolln'ient and Eiigibility Reporting Systeni (DIEIEI?..S) database which is the
official source of data on eligibility for military medical care and other eligibility systems

'l“he lDoU strongly supports the enforcement oi" the Serviee Meiiibei's Civil Relief Act (50 USC App. §§
501 et seq, as amended`) (SCRA) (i`oi'rnerly known as the Soldiers' and Sailors1 Civil Iiteliet"Act of 1940).
DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced a small error rate, iii the event the
individual referenced above1 or any family member., fi‘iend, or representative asserts in any manner that
the individual is on active dtity, or is otherwise entitled to the protections of the SCRA, you are strongly
encouraged to obtain further verification oi` the person's status by contacting that person's Service via the
"deteiiselinit.mii" URL iiI_TiJ_:/fww'tv._i;l_efe_i_i_sgl__ii;k.niii/l`airi{pigi§’COQSLQM!§R,htMLi_l_. it`you have evidence the
person is on active duty and you fail to obtain this additional Serviee verit"ication, punitive provisions ot`
the SCRA may be invoked against you. See 50 USC App. §521(<:).

 

if you obtain additional information about the person (e.g., an SSN, improved accuracy of DOB, a

middle name), you can submit your request again at this Web site and we will provide a new certificate
t`oi' that query.

Ttiis response i‘eiiects active duty status including date the individual was last on active duty, if it was

within the preceding 36'? days. l"`or historical infoi'niation, please contact the Service SCRA points-of-
contactl

bags ss

litt.ps://www.dmdc.osd.miifapp_ifscra/popreport.do 3/4,’20 l 0

 

 

 

 

ltcdticst for arliiitary Status page 3 wm

swore iiiforimiri`rm an "r»'tci’i've I)irry Stnrtrs "

Active duty status as reported in this certificate is defined in accordance with 10 USC § l.t)it`d)t`t) t`oi' a
period ot` more than 30 consecutive days in the case ot` a member cf`the t~iatioiial Ciuard_. includes
service under a call to active servic t authorized by the President or the Secrctaiy ol` `Det`eiise for a period
of more titan 30 consecutive days tindei' 32 USC § 502(`0 for ptirpi_ises of responding to a national
emergency declared by the .F'i'esi`dcnt and supported by l*`edcral l`tinds. Ail Activc Guard Rcserve {r\(;ift)
members rntist be assigned against an authorized mobilication position in the unit they support 'l`his
includes Navy TARst lvlarine Corps ARs and C_Zoast C.iuard ltPAs. Active Duty status also applies to a
lrlitiformed Service member who is an active duty commissioned officer oi` the t_i,S. Public i-lealth
Scrvice oi' the i‘~latioiial theanic and Atntosphcric radminist'ration (N(_`)./-\A C`ommissionerl Corps) for a
period of more than 30 consecutive dnys.

Cm’m'"s'£’ Uiider the S(.`Itrt is Brorin'er‘ iii d'oiiie Crire.r
Covei'age under the SCRA is broader in some cases and includes some categories of persons on active
duty for purposes of the Stll`t!-\ who would riot be reported as on Acti.ve Duty under this certificate

i\daiiy times orders are amended to extend the period of active duty, which would extend tinth
protections Persons seeking to rely on this website certification should check to make sure the orders on
which SCRA protections are based have not been amended to extend the inclusive dates ot`scrvice.
Ftii'tliermore, some protections of the SCRA may extend to persons who have received orders to report
for active duty or to be inducted, but wiio have not actually begun active duty or settinin reported t`or
induction. "l`he lsast Date on Active Dtity entry is important because a number of protections ofSCRA
extend beyond the last dates of active duty.

Those who would rely on this certificate are urged to seek qualified legal counsel to ensure that ali rights
guaranteed to Sc.rvice members under the SCRr’-t are protected

WARNING: “l"his certificate was provided based on a name and SSN provided by the requestei:
Pi'oviding an erroneous name or SSN will cause an erroneous certificate to be provided
aspen ii:):i-i'vaaoiacooo

littps:r/www.dmdc.osd.mil/appj/scra/popreport.do 3"4"201(:”¢ 15

 

 

 

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08_/18/17 Page 36 of 39

Bronx County Civi| Court
Civil Judgrnent

 

 

Pf"';‘g§:l:tM/\NAGEMENT| LLC index nominee cv-essssi-osiax
Judgrnent lssued: Cln Default
VS. Ori Motlon of:
osisndam(g); test/utica s AssooiATt-:s. P.c.
DlNA GR|LLO 30 CHURCH STREET. SUITE 26. New
Ftoche|lei NY 10801‘
N“°“m daimF-*d 52,428,`?6 lndex weather Fee $45.00 Transodpl Fee $U-Uo
Lesr' paymem$ made $D.UO Consumer Craoit Fao 50.00 County t‘:lerk Feo $D-Oo
"E“ C°“"‘*"C‘a"“ O*l‘~*-'t sane serves res sas.oo assessment ass stand
interest tidewater st on season unsanitary sss so_oo osha assessments $U.UO
A“smsr Fee$ so_oo notes er rea sss seed other case $D.OO
Coet Ely Statute $ZO.C|O Jury Derriarid Fee $O.DG
Terai damages sat race real costs s assessments s1 sane .ieegmsni rbiai ss.asaoe

The following named parties. addressed and identified as creditors below:
Plaintiff ereditor{s) and address

(1) NORTH MANAGEMENT. LLC
5 NORTH STREET, Brot'ix, NY 10468-

Shal| recover of the following partiesl addresses and identified as debtors below:

Defendarit debtor(a} and address

(1) oiNA eniLLo s
sees enonxwooo Avisnue. ann Ftn, erenx. nv miles-

 

Judgment entered at the Bronx Counly Civil Couit. 851 Grand Concourso, Bronx, NY 10451, in the STATE OF NEW YCIRK
in the total amount of $3,242.08 on 09l15f2t)10 at 11:05 AM.

m.,# ‘-H**"'" ' -wiii\w-"'_
4

l\ `l`-W)p
Judgn'ient sequence 1 ”ML Q"‘"i
JElol<. Baer, Chief' Cierk Civil Court

Page ‘l oft

l`-‘ags 35

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 37 of 39
t\. _ A.Fl`*`ll"_)AV]_"[‘ ()}r SE - -\ ;.
civiL counter rl--i.e cirv or new voss ` RVIU"

CGUNTY OF 13 R()N X_ index `No. 8369 l /09

raise ___
Attorneys: Kavulich dc Associatest F'.C.
Address: 30 Churcb Street, Suite 26_. New Rochclle,, NY 10301
`NOliTi-.I MANAGEM`EN'I' LI.C,

VSt
omit oiut.to,

File No. 8]96

State ot`New York County ofN`assau SS:
Aston G. evans I.I`, being duly sworn deposes and says:

ideponent is not a party herein, is over lit years ofage. Un Augast 4, 2009 at M,§a.m.
r'tt. 360_") Bronxwood Avegue. 3"" Floor. Bronit. NY 10469-1156 served the within Summons and
Complaint on: DlNA GR!LL(), Dei`endani therin named

Individual By delivering a true copy ofesch to said recipient deponent knew the person
[] served to be the person described as said person therein.

Cmpomtion By delivering m and leaving with _,e,__.n_, and that deponent knew the i"_.mi
person so served and authorized to accept service on behalf urine Corpomtjon

Suitable Age By delivering a true copy of`each to a person ol` suitable age end discretion

Pcrson Said premises is recipients [ ] actual place of business [X] dwelling house within the ..:»;.
[`X] state. en
A.f`fixing By allixing a true copy of each to the door of said premiscs, which is recipients
to [Joor [ ] actual place ot` business [] dwelling house (place of` abode) within the state
ii
Mail Copy On sgt ist 5 2009 deponent completed service under the last two sections by
[ X ] depositing a copy of`the Sumrnons and Cornplaint to the above address in a l“

Class properly addressed envelope marked “Personal and Confidentitil” in an official
depository under the exclusive care and custody ol" the United States Post Ofiice in the State
of New York.
Depouent was unablc, with due diligence to find the recipient or a person oi` suitable age
end discretion having called thereat:

On the day ot` at
On the day of` at
On the day of at

. . » ~ » d on behalf of` the Def`endant
D se non ndescription of the Det"endant, or other person serve 1 ’ ” l _
e[]’;l;xLM“Color ofskin: §§¢§` Color ofHair: BLK Age: 55*60 Heig`nt: 5 8 Weight: §§OLBS

 

' ` ` ‘ ` ' tly in military
` o De onent asked person spoken to whether the recipient was pre-sen
M]l{lt§rif Svc sore/ice of the United States Govemment or of the State of New 'tr'orlt and was `
informed that the recipient is pg_t‘. Reeipient wore civilian clothes and no military unil`otrn

   
  

 

 

O§%E,John nwa Siatcd that the Defendant is not lathe military. /‘/ é/_p <~
. s d of§éj / . /
Swom m :’“i 5 wm ay Aston Cii Evatts il
,/ . _lsiC# l220069
i'.., fill several rate
final '-.`:::r~r\

 

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lie ila t):'i!ii.¢tlsorears 9
E,qm‘,u]pu §|ulrr_»(?urr¢ _5,20___"`_

   

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Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 38 of 39

CIVI`L COLJ'RT Ol`~` Ti~lE ClTY C)l'"
m . . . . t t ‘ i‘~i t
COUN .l`Y C)i~` .BRONX 1 W YORK

.......................................... x

Nortlt Manageincnt, LLC,

Plairiti'i`i`, INDEX NO. fng -{
rita No. siae.e ii~`»i-"i~

-against»

SUMMONS
Place of Venue is Plaintit`l"s
nina Grmo' place ofbusiness:

15 l\lorth Street

l Bronx, NY 10468
Del`eiidant(s)

______________________________________________________ x
'l`o the above named defendants(s):

YC`)U ARE HEREBY SUMMONED to appear at tlic CIVIL COURT C)F THE CITY ClF
NEW YORK, COUNTY OF BRONX at the office ol` the clerk of the said Court at 851 Grand
Concou.rse, Bronir, NY 10451, in the CCJUNTY OF BRONX, State ol`New Yorlc, within the
time provided by law as noted below and to tile an answer to the below complaint with the
clorlt: upon your failure to answer, judgment will be taken against you for the s i of
with interest thereon from August l, 2007 together with costs of this action.

   
  

 

DATED: July 9, 2009

 

/
By:`G/ary Kavu.lx`€cp,/Esq.,
Kavulicii dr Asso iates, P.C.
Attomey for Piaintiff
30 Cluircli Street
Suite 26
l\lew Rochelle, NY 10801
(914) 355-2074

testethls_e_d.'r.lrs§l

Dina Gtilio ` t
36()9 Bronitwood Aventle, Brd Flr.

arena err reese-1156

* + » ' ' id by its delivery to you personally
- law rowch lliat. (a) Iftlic summons ts serve j ‘
NF;;:£ E;eciry §fNew York, you must appear and answer within TWENTY days siler such
wl ice_ mm (b) Ifthe gum_mgns is Served by any means other than personal delivery to you
;{iiiEiiin ihe City of New Yerlc, you must appear and answer within THIR'I`Y days after proof of

service thereof is filed with the Clerk of this Court.

 

 

 

Case 1:16-cv-02134-ALC Document 86-53 Filed 08/18/17 Page 39 of 39
COM`PLAINT

FIRST A '- ' ‘ . .
agreemen§:ihoer;iti:iad?;;f:§§k;go recover damages from defendant(s) li`or breach ol` a lease
balance of 3277.93; Septenib ' representing rental arrears for the months of August, 2007

` cr, 2007 throu h and includ` ‘
monthly sum of 31,075.39 for the premises ii mg Ocmbcr’ 2007 at the agreed

10468 together With costs 1 nown‘ as 15 North Strcet, Apt.BD Bronx, NY
and disbursements f t ‘ l
33 the Coun may deemju$t' o his action and for such other and timber relief

SECOND ACTION: Plaintil`t" seeks to recover da
ti d

reprcse ng amages together with cost
and further relief

magee from the defendant in the sum of $0.00

s and disbursements ot" this action and for such other
as the Coutt may deem just.

THIRI) ACTION: Plaintiilscelts to recover dams
$500.00 representing reasonable attorne
action and lfor such other further relief a

gas from the defendant in the sum of

ys fees together with costs and disbursements of this
s thc Court may deem just.

WHEREFORE, Plaintil"t` demands judgment (A) on the First Action, in the sum of$2,428.76

plus interest front August l, 2007 together with costs and disbursements of this action and for
such other and further relief as the Court may deem just, (B) on the Second Action, in the sum
of $0.00 plus interest from Au.gust i, 2007 together with costs and disbursements of this
action and for such other and further relief as the Coutt may deem just, (C) on the 'l`hird

Action, in the sum of $500.00 together with costs and disbursements of this action and for
such other and further relief as the Court may deem just.

The Plaintit'f in this action is NC)T required to be licensed by the Ncw Yorl{ City
Ijepartrnent of Consumcr Aft`airs.

P&f|B 39

